               Case 2:21-cr-00126-RAJ Document 35 Filed 10/07/22 Page 1 of 1




 1                                                                   JUDGE RICHARD A. JONES
 2
 3
 4
                                UNITED STATES DISTRICT COURT
 5
                               WESTERN DISTRICT OF WASHINGTON
 6                                       AT SEATTLE

 7   UNITED STATES OF AMERICA,                          )   No. 2:21-cr-00126-RAJ
                                                        )
 8                    Plaintiff,                        )
                                                        )   ORDER GRANTING AMENDED
 9               v.                                     )   MOTION TO MODIFY CONDITIONS
                                                        )   OF SUPERVISION
10   JUDITH WRIGHT,                                     )
                                                        )
11                    Defendant.                        )
                                                        )
12
            THIS MATTER comes before the Court on Ms. Wright’s unopposed motion to
13
     modify Special Condition number eight of her supervision.
14
            The motion (Dkt. 34) is GRANTED and condition eight is modified as follows:
15
            The defendant shall participate in the location monitoring program with
16          Global Positioning Satellite technology via mobile application for a
17          period of 12 months. The defendant is restricted to her residence at all
            times except for employment, religious services, medical, legal reasons,
18          or as otherwise approved by the location monitoring specialist. The
            defendant shall abide by all program requirements, and must contribute
19          towards the costs of the services, to the extent financially able, as
20          determined by the location monitoring specialist.

21
22          DATED this 7th day of October, 2022.

23
24
                                                             A
                                                             The Honorable Richard A. Jones
25                                                           United States District Judge
26

                                                                      FEDERAL PUBLIC DEFENDER
       ORDER GRANTING MOTION TO MODIFY                                   1601 Fifth Avenue, Suite 700
       CONDITIONS OF SUPERVISION                                           Seattle, Washington 98101
       (U.S. v. Judith Wright; 2:21-cr-00126-RAJ) - 1                                 (206) 553-1100
